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 7
      Attorney of Record for Plaintiff,
 8    Bryan Estrada
 9
                             UNITED STATES DISTRICT COURT
10

11                          CENTRAL DISTRICT OF CALIFORNIA
12

13    Bryan Estrada,                                Case No.:
14
                                                    5:21−cv−00596 JWH (SHKx)

15                     Plaintiff,                   NOTICE OF SETTLEMENT
16

17
                       v.
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19
      SecureCare Self Storage, Inc., et al.
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                       Defendants.
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                                      NOTICE OF SETTLEMENT
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Case 5:21-cv-00596-JWH-SHK Document 14 Filed 05/05/21 Page 2 of 2 Page ID #:55




 1
            TO THE HONORABLE UNITED STATES DISTRICT COURT AND
 2    TO THE CLERK OF THE COURT:
 3
            In accordance with Local Rule 16-15.7, Plaintiff hereby submits this
 4
      Notice of Settlement to notify the Court that the lawsuit has been settled in
 5
      its entirety as to all parties and all causes of action.
 6

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 8
      Respectfully submitted,
 9    Dated: May 05, 2021 LAW OFFICES OF ROSS CORNELL, APC
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11                                    By: /s/ Ross Cornell
12
                                          Ross Cornell, Esq.,
                                          Attorneys for Plaintiff,
13                                        Bryan Estrada
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                                     NOTICE OF SETTLEMENT
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